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     NV 7026 (Rev 6/16)
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     Daphne Williams              UNITED STATES BANKRUPTCY COURT
 5
                                              DISTRICT OF NEVADA
 6
                                                         *******
 7
     In re CHARLES RANDALL LAZER                                    )     BK: 22-11549-mkn
 8                                                                  )    Chapter: 7
                                                                    )    Adv. No.: 22-01125-mkn
 9                                                                  )
                                                                    )              STANDARD
10                                       Debtor(s).                 )    DISCOVERY PLAN
                                                                    )               OR
11            Daphne Williams                                       )    REQUEST FOR WAIVER OF
                                                                    )    FILING DISCOVERY PLAN
12                                                                  )
                                                                    )
13                                       Plaintiff(s),              )
     vs.                                                            )
14           CHARLES RANDALL LAZER                                  )
                                                                    )
15                                       Defendant(s)               )
16   1.       Discovery Plan
17                        Request for waiver of requirement to prepare and file a formal discovery
18                        plan.
19            The parties certify that all discovery can be completed informally, without the need of
20   court intervention and in conformance of the Standard Discovery Plan, and that the matter will
21   be ready for trial within 120 days, or
22              ✔         A discovery plan is needed or useful in this case. Check one:
23                          ✔     The parties agree to the standard discovery plan. The first defendant
24   answered or otherwise appeared on August 30, 2022                  . Discovery shall be completed within
25    120            days, measured from the date the first defendant answered or otherwise appeared.
26   Discovery will close by December 28, 2022                  .
27
28                                                          1
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 1                            The parties jointly propose to the court the attached discovery plan and
 2   scheduling order. (Use Official Form 35 to the Federal Rules of Civil Procedure.)
 3                            The parties cannot agree on a discovery plan and scheduling order. The
 4   attached sets forth the parties’ disagreements and reasons for each party’s position. (Use Official
 5   Form 35 of the Federal Rules of Civil Procedure.)
 6   Complete parts 2 - 6.
 7   2.     Nature of the Case. Brief description of the nature of the case, i.e., dischargeability,
 8   denial of discharge, turnover, contract, etc. a non-dischargeability action pursuant to §523(a)
 9
10   3.     Jury Trials: Check one:
11            ✔       A demand for a jury trial has not been made
12                    A demand for a jury trial has been made pursuant to Fed. R. Civ. P. 38(b), and in
13   conformity with LR 9015, but one or more of the parties does not consent to a jury trial pursuant
14   to 28 U.S.C. § 157(e).
15                    It is expressly understood by the undersigned parties they have demanded a jury
16   trial pursuant to Fed. R. Civ. P. 38(b), and in conformity with LR 9015, and have consented to a
17   jury trial pursuant to 28 U.S.C. § 157(e).
18          An original and two (2) copies of all instructions requested by either party shall be
19   submitted to the clerk for filing on or before February 15, 2023                     .
20          An original and two (2) copies of all suggested questions of the parties to be asked of the
21   jury panel by the court on voir dire shall be submitted to the clerk for filing on or before
22   February 22, 2023                         .
23   4.     Additional Pleadings. Are there any counterclaims, cross claims or amendments to the
24   pleadings expected to be filed?
25                            Yes
26                ✔           No
27
28                                                      2
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 1   5.      Settlement Conference
 2           _______ A settlement conference is requested.
 3   If checked, a settlement conference is requested no earlier than                           .
                ✔
 4           ________Settlement cannot be evaluated prior to additional discovery. The parties
 5   may later request a settlement conference.
 6   6.      Trial
 7           The case should be ready for trial by March 1, 2023                         and should take
 8    1              day(s).
 9   7.      All parties ✔ consent/         do not consent to this court entering final judgment.
10
11   Dated: 10/13/2022                                       Dated: 10/13/2022
12    /s/ Trey A. Rothell                                     /s/ Christopher P. Burke
13   Signature of Counsel for Plaintiff(s)                   Signature of Counsel for Defendant(s)
14   Type Name, Address and                                  Type Name, Address and Telephone
     Telephone Number of Counsel                             Number of Counsel
15
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